                UNITED STATES DISTRICT COURT
         FOR THE WESTERN DISTRICT OF NORTH CAROLINA
                     ASHEVILLE DIVISION


                            )
SANDRA M. PETERS, on behalf of
                            )
herself and all others similarly situated,
                            )
                            )
              Plaintiff,    )                    Case No. 1:15-cv-00109-MR
  v.                        )
                            )
AETNA INC., AETNA LIFE      )
INSURANCE COMPANY, and      )
OPTUMHEALTH CARE SOLUTIONS, )
INC.,                       )
                            )
              Defendants.   )
                            )



                 DEFENDANTS’ SURREPLY OPPOSING
             PETERS’S MOTION FOR CLASS CERTIFICATION




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                                INTRODUCTION
      In her reply supporting her motion for class certification (Dkt. 262), Peters plays

fast and loose with the Fourth Circuit’s decision in this case, controlling precedents

(from the Supreme Court and the Fourth Circuit) that foreclose class certification, and

the evidence. Aetna and Optum will not respond to all of Peters’s mischaracterizations,

but Peters has made new arguments in her reply that warrant a brief response.

                                    ARGUMENT
      1. The Fourth Circuit’s unpublished (non-precedential) opinion in
         Amazon.com, Inc. v. WDC Holdings LLC says nothing about tracing
         rules under ERISA.

      One of Peters’s lead arguments in her reply is that the Fourth Circuit in

Amazon.com, Inc. v. WDC Holdings LLC, No. 20-1743, 2021 WL 3878403, at *6 (4th Cir.

Aug. 31, 2021) (per curiam) held that equitable disgorgement under ERISA § 502(a)(3)

“does not require tracing of specific funds in a defendant’s possession.” Reply 2, 11

(quoting Amazon.com) (in turn citing FTC v. Bronson Partners, LLC, 654 F.3d 359, 374 (2d

Cir. 2011)). Peters goes so far as to suggest that Defendants’ counsel might have

breached an ethical obligation by not citing the Amazon decision in their supplemental

opposition. Reply 2.

      In fact, it is Peters’s counsel who have mischaracterized Amazon.com. First, the

opinion is an unpublished per curiam decision, so it is not precedential, much less

“dispositive.” Reply 2; United States v. Cortez, 930 F.3d 350, 362 n.2 (4th Cir. 2019)




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(“unpublished opinions are not binding in this [c]ircuit”). Defendants had no obligation

to cite a non-precedential decision.

      Second, and more important, the decision is not about equitable remedies under

ERISA—the relief Peters claims to be seeking here—but rather about equitable

remedies under Virginia law. In discussing Virginia law, the Fourth Circuit made the

statement that “disgorgement does not require tracing of specific funds in a defendant’s

possession” and cited the Second Circuit’s decision in Bronson Partners. Amazon.com, 2021

WL 3878403, at *6. But if Peters’s counsel had read Bronson Partners, they would know

that the Second Circuit was discussing equitable disgorgement, not under ERISA, but

under the FTC Act. In fact, the Second Circuit went out of its way to distinguish

equitable disgorgement under the FTC Act from other forms of equitable disgorgement

(including under ERISA). Bronson Partners, 654 F.3d at 370–74; see also id. at 372

(“disgorgement is a distinctly public-regarding remedy, available only to government

entities seeking to enforce explicit statutory provisions”). Nothing in the Fourth

Circuit’s unpublished opinion in Amazon.com upends the tracing rules that apply to

equitable disgorgement under ERISA.

      On the contrary, Peters’s reliance on Amazon.com only underscores her

misunderstanding of the equitable remedies available under ERISA. Under ERISA,

“[t]he tracing requirement . . . for equitable restitution also applies to accounting and

disgorgement of profits but may be modified in certain limited circumstances.” Teets v.

Great-W. Life & Annuity Ins. Co., 921 F.3d 1200, 1225 (10th Cir. 2019) (citing Great-W.

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Life & Annuity Ins. Co. v. Knudson, 534 U.S. 204, 214 n.2 (2002)). “If, for example, a

plaintiff is entitled to a constructive trust on a particular property held by the defendant,

he may also recover profits produced by the defendant's use of that property, even if

he cannot identify a particular res containing the profits sought to be recovered.” Teets,

921 F.3d at 1225 (quoting Knudson, 534 U.S. at 214 n.2). “To qualify for this remedy in

equity, the plaintiff still must show entitlement ‘to a constructive trust on particular

property held by the defendant’ that the defendant used to generate the profits.” Id. at

1226 (quoting Knudson, 534 U.S. at 214). “Accordingly, without a particular profit-

generating res, a claim for payment out of the defendant's general assets is a request for

legal relief rather than for equitable accounting or disgorgement of profits and cannot

be awarded under § 502(a)(3).” Id.

       Peters has never tried to satisfy that tracing requirement for any “equitable”

monetary remedy. On the contrary, she has argued all along that no tracing rules apply

to the remedies that she seeks. See Dkt. 199 at 24 (arguing that “Optum’s discussion

about requiring tracing is irrelevant to disgorgement”); Dkt. 179 at 20 (same). In her

reply, she relies on Bronson Partners to argue that she can trace through classwide proof

(Reply at 15–16), but as discussed, Bronson Partners is not about tracing rules under

ERISA and did not impose a tracing requirement on the FTC. And Peters misrepresents

the record when she argues that “Optum does not dispute that the funds are in its bank

account.” Reply 16. In fact, Optum has put on evidence to the contrary. See generally

Dkt. 172-55 (Ex. 79) ¶ 8 (“Aetna’s documentation for a deposit does not tell Optum

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which claims the deposit covers.”) id. ¶ 9 (“Optum never receives a payment from an

Aetna member or Aetna plan sponsor.”).

       Peters also argues alternatively that “even if Defendants could successfully raise

individualized questions as to the ultimate award of damages or equitable relief under

ERISA, ‘the need for individualized proof of damages will not defeat class certification.’”

Reply 9 (quoting Gunnells v. Healthplan Servs., Inc., 348 F.3d 417, 429 (4th Cir. 2003)

(emphasis in original)). She misses the point: Determining whether any particular plan

member is entitled to any monetary recovery would require an individualized inquiry

into, among other things, the member’s plan terms claims history, any payments from

Aetna to Optum, any profit on the claims, and whether any profit was ill-gotten in the

equity sense. It is not just a matter of fixing damages.

       But even if it were, individualized damages issues preclude class certification. See

Comcast Corp. v. Behrend, 569 U.S. 27, 35–38 (2013). Gunnells is from the pre-Dukes, pre-

Comcast era in which the Fourth Circuit taught that “federal courts should give Rule 23

a liberal rather than a restrictive construction.” 348 F.3d at 424. The Supreme Court

has since rejected that approach. See Wal-Mart Stores, Inc. v. Dukes, 564 U.S. 338, 349–51

(2011); Comcast, 569 U.S. at 33–34.

       2. The Fourth Circuit has never addressed the Supreme Court’s decisions
          in Thole, TransUnion, or California.

       Peters also argues for the first time that the “Fourth Circuit considered [Thole,

TransUnion, and California] and rejected Defendants’ strained reading of them.” Reply 2.


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That is false. The Fourth Circuit has never addressed those decisions. Inasmuch as

Peters suggests that the Fourth Circuit’s silence counts as rejection, the Fourth Circuit

has said too many times to count that it does not decide issues by silence. See, e.g.,

Fernandez v. Keisler, 502 F.3d 337, 343 n.2 (4th Cir. 2007) (rejecting notion that “what

[the Fourth Circuit] did not do or say” creates binding precedent); United States v. Horton,

693 F.3d 463, 479 n.16 (4th Cir. 2012) (“a sub silentio holding is not binding precedent”).

       3. Reasonable compensation is not an affirmative defense under ERISA
          § 502(a)(3).
       Contrary to Peters’s argument, the only remaining claim against Optum is

Peters’s unpleaded claim for nonfiduciary liability under ERISA § 502(a)(3). (Peters

lacks standing to sue for injunctive or declaratory relief. See Dkt. 259 at 3–4; Section 4

below.)

       In any event, Peters argues that Defendants “waived” any reasonable-

compensation defense by not pleading reasonable compensation as an affirmative

defense. Setting aside that Peters did not plead a Section 406 claim against Aetna or

Optum, Peters mischaracterizes the law. Reasonable compensation is not an affirmative

defense to a claim for nonfiduciary liability under ERISA § 502(a)(3). Peters has never

cited a case holding otherwise. The one out-of-circuit ERISA case that Peters cites in

her reply—Allen v. GreatBanc Tr. Co., 835 F.3d 670, 676 (7th Cir. 2016)—is about claims

against fiduciaries, not claims against nonfiduciaries under § 502(a)(3). For a nonfiduciary

to be liable under § 502(a)(3), the nonfiduciary “must be demonstrated to have had



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actual or constructive knowledge of the circumstances that rendered the transaction

unlawful.” Harris Trust & Sav. Bank v. Salomon Smith Barney Inc., 530 U.S. 238, 251 (2000).

That requires the plaintiff to prove that the nonfiduciary knew not only that the

transaction was technically prohibited by § 406 but also that the transaction was not

subject to any exemption under § 408. See Hans v. Tharaldson, No. 05-cv-115, 2011 WL

7179644, at *16 (D.N.D. Oct. 31, 2011). After all, an exempt transaction is not

“unlawful” under ERISA. Accordingly, Peters had to prove that Optum knowingly

participated in a prohibited transaction that was not exempted under § 408; that

required proof that, among other things, Optum’s compensation was unreasonable and

Optum knew as much.

       The only evidence in the record proves that Optum’s fees were reasonable (see

Dkt. 207 at 22–25), and Peters has not come forward with countermanding evidence

even though she bears the burden of proving her entitlement to equitable monetary

relief under ERISA § 502(a)(3). Each putative class member would face the same

hurdles if they ever had a live claim in this case. But as of now, no other plaintiff is part

of the litigation, so Optum could not have possibly waived any nonexistent “affirmative

defense” under ERISA § 502(a)(3) to other putative class members’ claims. See Std. Fire

Ins. Co. v. Knowles, 568 U.S. 588, 593 (2013) (“[A] nonnamed class member is [not] a

party to the class-action litigation before the class is certified.”) (emphasis in original). And

even if this Court were to hold for the first time that reasonable compensation is an

affirmative defense to Peters’s individual unpleaded claim for nonfiduciary liability, the

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Court should permit Optum to press the defense against Peters’s individual claims. See

Fed. R. Civ. P. 15(a) (“The court should freely give leave [to amend] when justice so

requires.”).

       4. Peters lacks Article III standing to seek declaratory or injunctive relief.
       Peters concedes that she is a former plan participant, and she never engages with

the cases that Aetna and Optum cite holding that former plan participants lack standing

to seek declaratory or injunctive relief. See Dkt. 259 at 4–5. Instead, she suggests that

the Fourth Circuit allowed her to seek injunctive and declaratory relief for potential

harm to the Mars Plan. Reply 19. On the contrary, the Fourth Circuit questioned

Peters’s standing for those claims. Peters v. Aetna, 2 F.4th 199, 221 n.11 (4th Cir. 2021).

       Peters also makes the frivolous argument that she has “a risk of future harm”

because Defendants could attempt to collect on within-deductible charges relating to a

seven-year-old benefits claim. Reply 18. The evidence shows that Optum has

understood all along that it did not get paid on within-deductible claims and could not

collect payment from Aetna plan members. See Dkt. 207 at 5–6 (citing multiple

exhibits). Peters lacks Article III standing to seek declaratory or injunctive relief.

                                    CONCLUSION
       Peters suffered no injury and lacks standing to seek relief for herself or anyone

else. Her proposed classes fail to satisfy Rule 23. The Court should deny Peters’s motion

for class certification.




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Dated: October 26, 2021



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    CERTIFICATE OF COMPLIANCE WITH THE COURT’S RULES
      I certify that this brief complies with Local Rule 7.1 and this Court’s Pretrial

Order and Case Management Plan. It uses Microsoft Word double-spacing and one-

inch margins and is in Garamond 14-point font (including footnotes).



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                          CERTIFICATE OF SERVICE
      I hereby certify that on this 26th day of October 2021, a copy of the foregoing

was electronically filed with the clerk of the court of the United States District Court

through the CM/ECF system, which will provide notice to all counsel of record.


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